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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 10-0247CCC
 1) ROSA E. CASTRILLON-SANCHEZ
 2) ROSA E. SANCHEZ-MERCADO
 3) JORGE RIVERA-IZQUIERDO
 4) JACK O’DELL
 5) CARMEN Z. SOSA-BARRETO
 6) LUIS RODRIGUEZ-BARRETO
 7) NOEMI DELGADO-ALICEA
 8) LIMARIE AMALBERT-BIRRIEL
 9) AMARILYS PAGAN-ESTRELLA
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on February 1, 2013
(docket entry 428) on a Rule 11 proceeding of defendant Rosa E. Sánchez-Mercado (2)
held before U.S. Magistrate Judge Camille L. Vélez-Rivé on February 1, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that her plea was voluntary and intelligently
entered with awareness of her rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since February 1, 2013. The sentencing hearing is set for May 2,
2013 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on March 18, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
